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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

  UNITED STATES OF AMERICA

  V.                                                    NO. 3:16-CR-516-JJZ

  WILTON McPHERSON BURT (4)

                            FORFEITURE MONEY JUDGMENT

         Before the court is the government's opposed Motion for a Forfeiture Money

  Judgment against the defendant, Wilton McPherson Burt. Based upon the jury's verdict

  and the evidence provided during trial, including trial exhibits 473, 537, and 538, the

  United States has demonstrated that Burt derived $4,560,852.33 in proceeds from the

  offenses for which the jury convicted him:

         IT IS HEREBY ORDERED:

         Burt shall pay a personal money judgment forfeiture in the amount of

  $4,560,852.33, which represents the proceeds derived from or property involved in the

  offense of conviction. Pursuant to Federal Rules of Criminal Procedure 32.2(b)(3) and

  32.2(c)(l)(B) and 21 U.S.C. § 853(m), the government may conduct discovery to identify

  property subject to forfeiture as substitute assets under 21 U.S.C. § 853(p).

         This Forfeiture Money Judgment shall become final as to the defendant at the time

  of sentencing, and shall be made a part of the sentence and included in the written

  judgment order.




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          This court shall retain jurisdiction to enforce this Order, and to amend it as

  necessary pursuant to Federal Rule of Criminal Procedure 32.2(e).

          SO ORDERED.

         Date: March 17, 2021.


                                              s/ Jack Zouhary
                                              JACK ZOUHARY
                                              UNITED STATES DISTRICT JUDGE




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